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                        EXHIBIT “2”
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                                                                                              6
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                                                                                              9   HOUMAND LAW FIRM, LTD.
                                                                                                  9205 West Russell Road, Building 3, Suite 240
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                                                                                             10   Las Vegas, NV 89148
                                                                                                  Telephone:    702/720-3370
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                                                                                             11   Facsimile:    702/720-3371

                                                                                             12   Counsel for Shelley D. Krohn, Chapter 7 Trustee

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                                                                                             14                              UNITED STATES BANKRUPTCY COURT

                                                                                             15                                      DISTRICT OF NEVADA

                                                                                             16    In re:                                          Case No. BK-S-19-15333-MKN
                                                                                                                                                   Chapter 7
                                                                                             17    LAS VEGAS LAND PARTNERS, LLC,
                                                                                                                                                   ORDER APPROVING STIPULATION
                                                                                             18                    Debtor.                         RESOLVING OBJECTIONS TO THE
                                                                                                                                                   MOTION TO APPROVE: (1) THE SALE
                                                                                             19                                                    OF REAL PROPERTY PURSUANT TO 11
                                                                                                                                                   U.S.C. § 363(f); (2) COMPENSATION IN
                                                                                             20                                                    FAVOR OF CUSHMAN & WAKEFIELD
                                                                                                                                                   U.S., INC. DBA CUSHMAN &
                                                                                             21                                                    WAKEFIELD; AND (3)
                                                                                                                                                   REIMBURSEMENT OF EXPENSES TO
                                                                                             22                                                    CGA REAL ESTATE SERVICES, LLC
                                                                                             23                                                    Judge: Honorable Mike K. Nakagawa
                                                                                             24             The Court having reviewed and considered the Stipulation Resolving Objections to the

                                                                                             25   Motion to Approve: (1) the Sale of Real Property Pursuant to 11 U.S.C. § 363(f); (2)

                                                                                             26   Compensation In Favor of Cushman & Wakefield U.S., Inc. dba Cushman & Wakefield; and (3)

                                                                                             27   Reimbursement of Expenses to CGA Real Estate Services, LLC (the “Stipulation”) filed by the

                                                                                             28   parties thereto, and good cause appearing,

                                                                                                                                                  -1-
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                                                                                              1          IT IS HEREBY ORDERED that1:

                                                                                              2          1.      The Stipulation is APPROVED in its entirety; and

                                                                                              3          2.      The Motion to Sell Free and Clear of Liens Under Section 363(f) and Approve

                                                                                              4   Compensation In Favor of Cushman & Wakefield U.S. Inc. DBA Cushman & Wakefield and

                                                                                              5   Reimbursement of Expenses to CGA Real Estate Services, LLC [ECF No. 207] (the “Motion to

                                                                                              6   Sell”) is GRANTED as set forth herein; and

                                                                                              7          3.      The Oppositions shall be withdrawn; and

                                                                                              8          4.      The Property shall be sold to RTC on the terms set forth in the Amended PSA that
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   is attached hereto as Exhibit “1”; and
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10          5.      The Property shall be sold free and clear of the following liens pursuant to 11
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                                                                                             11   U.S.C. § 363(f): (a) a certified copy of a judgment or an abstract thereof, recorded January 16,

                                                                                             12   2020 in Book 20200116 as Instrument No. 03268 of Official Records; and (b) a document entitled

                                                                                             13   “Affidavit in Support of Recordation of Findings of Fact and Conclusions of Law” recorded

                                                                                             14   January 21, 2020 in Book 20200121 as Instrument No. 03287 of Official Records; (c) Deed of

                                                                                             15   Trust to secure an original indebtedness of $25,000,000.00, accreting to $30,096,194.54 recorded

                                                                                             16   April 29, 2008 in Book 20080429 as Instrument No. 05697 of Official Records, dated April 28,

                                                                                             17   2008; (d) Assignment of Leases and Rents recorded April 29, 2008 in Book 20080429 as

                                                                                             18   Instrument No. 05968 of Official Records, as additional security for the payment of the

                                                                                             19   indebtedness secured by the Deed of Trust described above; and

                                                                                             20          6.      The fourteen (14) day stay under FRBP 6004(h) is waived; and

                                                                                             21          7.      The RTC shall be deemed a good faith purchaser pursuant to 11 U.S.C. § 363(m);

                                                                                             22   and

                                                                                             23          8.      The Trustee shall be paid the Bankruptcy Proceeds in the amount of gross

                                                                                             24   $10,800,000.00 from the sale of the Property before accounting to closing costs and commissions;

                                                                                             25   and

                                                                                             26   ...

                                                                                             27
                                                                                                  1
                                                                                                    Unless otherwise provided herein, all defined terms shall have the same meaning ascribed to
                                                                                             28
                                                                                                  them in the Stipulation.
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                                                                                              1          9.      The Forest City Entities shall be paid gross proceeds from the TIC Payment in the

                                                                                              2   amount of $9,200,000.00 before accounting for its portion of closing costs and commissions; and

                                                                                              3          10.     Cushman & Wakefield U.S., Inc. dba Cushman & Wakefield (“Cushman”) shall be

                                                                                              4   awarded a commission related to the sale of the Property in the total amount of $886,013.07 (the

                                                                                              5   “Cushman Commission”); and

                                                                                              6          11.     The Trustee shall be permitted to pay Cushman the bankruptcy estate’s portion of

                                                                                              7   the Cushman Commission of $354,405.23 at the closing of the Property, and the remainder of the

                                                                                              8   Cushman Commission shall be paid by the Forest City Entities; and
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9          12.     The Trustee shall be permitted to pay Woodbranch Investments Corp., acting on
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   behalf of its affiliates and principals and CGA Real Estate Services, LLC (collectively, “CGA”)
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                                                                                             11   the sum of $11,418.10 as a break-up fee at the closing of the Property; and

                                                                                             12          13.     The remainder of the break-up fee owed to CGA from the sale of the Property shall

                                                                                             13   be paid by the Forest City Entities; and

                                                                                             14          14.     The Debtor’s bankruptcy estate includes a 100% membership interest in Wink

                                                                                             15   One, LLC (“Wink One”) and the Trustee shall be authorized to sell the interest in the Property

                                                                                             16   owned by Wink One to the RTC on the terms set forth in the Amended PSA; and

                                                                                             17          15.     First American Title Insurance Company shall be permitted to take all actions

                                                                                             18   reasonably necessary to effectuate the sale of the Property on the terms set forth in the Amended

                                                                                             19   PSA without further court order; and

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                                                                                              1          16.     The Trustee shall be permitted sign any documentation on behalf of Wink One and

                                                                                              2   the Debtor that is reasonably necessary to effectuate the sale of Property on the terms set forth in

                                                                                              3   the Amended PSA without further court order.

                                                                                              4          IT IS SO ORDERED.

                                                                                              5   Prepared and Submitted By:

                                                                                              6   HOUMAND LAW FIRM, LTD.

                                                                                              7   By:
                                                                                                  Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                              8   Bradley G. Sims, Esq. (NV Bar No. 11713)
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                                                                                             11   Counsel for Shelley D. Krohn, Chapter 7 Trustee

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